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Defendants' Notice of Appeal is from an interlocutory Order of the Commission compelling discovery which does not affect a substantial right of the parties. Therefore, the Order is not subject to immediate appeal. Accordingly, defendants' Notice of Appeal is hereby DISMISSED; however, defendants' Notice shall be treated as an exception to the 17 October 2002 Order of the Commission, properly preserving the issues raised therein for future appeal.
Defendants are hereby further ORDERED to comply in all respects with the 17 October 2002 Order compelling discovery in these cases.
This the ___ day of December, 2002.
                                  S/___________________ BERNADINE S. BALLANCE COMMISSIONER